                            In the Matter Of:

           KULAKOWSKI vs WESTROCK SERVICES




                          DONALD TAYLOR

                           November 16, 2017




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 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · · · · DEPOSITION OF

 · · · · · · · · DONALD CHARLES TAYLOR

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · November 16, 2017

 · · · · · · · ·Commencing at 9:50 a.m.




 __________________________________________________



 Reported by:· Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:· 6/30/2018



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·1·   APPEARANCES:                                                    ·1· · · · · · · ·The deposition of DONALD CHARLES TAYLOR
·2·   For the Plaintiff:                                              ·2· was taken on behalf of the Plaintiff on November 16,
·3·   · · · · ·HEATHER MOORE COLLINS
· ·   · · · · ·Collins & Hunter                                       ·3· 2017, in the offices of Bone, McAllester & Norton,
·4·   · · · · ·7000 Executive Center Drive                            ·4· 131 Saundersville Road, Suite 130, Hendersonville,
· ·   · · · · ·Building 2, Suite 320
                                                                      ·5· Tennessee, for all purposes under the Federal Rules
·5·   · · · · ·Brentwood, Tennessee· 37027
· ·   · · · · ·(615) 724-1996                                         ·6· of Civil Procedure.
·6·   · · · · ·heather@collinshunter.com                              ·7· · · · · · · ·The formalities as to notice, caption,
·7
                                                                      ·8· certificate, et cetera, are waived.· All objections,
· ·   For the Defendant:
·8                                                                    ·9· except as to the form of the questions, are reserved
· ·   ·   ·   ·   ·   ·MARY DOHNER SMITH                              10· to the hearing.
·9·   ·   ·   ·   ·   ·NELSON SUAREZ
                                                                      11· · · · · · · ·It is agreed that Jerri L. Porter,
· ·   ·   ·   ·   ·   ·Constangy, Brooks, Smith & Prophete
10·   ·   ·   ·   ·   ·1010 SunTrust Plaza                            12· being a Notary Public and Court Reporter for the
· ·   ·   ·   ·   ·   ·401 Commerce Street                            13· State of Tennessee, may swear the witness, and that
11·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219
                                                                      14· the reading and signing of the completed deposition
· ·   ·   ·   ·   ·   ·(615) 320-5200
12·   ·   ·   ·   ·   ·mdohner@constangy.com                          15· by the witness are reserved.
· ·   ·   ·   ·   ·   ·nsuarez@constangy.com                          16
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14                                                                    17
15                                                                    18
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18                                                                    20
19                                                                    21· · · · · · · · · · · · · * * *
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25

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·1· · · · · · · · · · · · I N D E X                                   ·1·   · · · · · · · · DONALD CHARLES TAYLOR
·2· · · · · · · · · INDEX OF EXAMINATIONS
                                                                      ·2·   was called as a witness, and after having been first
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page
·4· Examination By Ms. Collins ........................5
                                                                      ·3·   duly sworn, testified as follows:
·5· Examination By Ms. Dohner Smith ..................38              ·4·   · · · · · · · · E X A M I N A T I O N
·6                                                                    ·5·   BY MS. COLLINS:
·7                                                                    ·6·   Q· · · ·Good morning.· Could you state your complete
·8· · · · · · · ·PREVIOUSLY MARKED EXHIBITS
                                                                      ·7·   name for the record, please.
· · · · · · · · · · PRESENTED TO WITNESS
·9
                                                                      ·8·   A· · · ·Donald Charles Taylor.
10· Exhibit· · · · Description· · · · · · · · · · · Page              ·9·   Q· · · ·Mr. Taylor, you go by Donnie, right?
11                                                                    10·   A· · · ·Yes.
12· No. 4· · 2011 RockTenn Employee Handbook .........40              11·   Q· · · ·Could you spell that for the court reporter?
13· No. 18· ·Henley notes "Follow up on four .........24
                                                                      12·   A· · · ·D-o-n-n-i-e.
· · · · · · ·alleged witnesses-Names provided by
14· · · · · ·Michael Kulakowski" Bates WestRock
                                                                      13·   Q· · · ·Where do you currently work, Mr. Taylor?
· · · · · · ·000225                                                   14·   A· · · ·WestRock.
15                                                                    15·   Q· · · ·Which facility?
· · No. 21· ·8/26/16 Meeting notes "August 26, .......27              16·   A· · · ·179 Hancock Street, Gallatin, Tennessee.
16· · · · · ·2016-MK-2:10pm" Bates WestRock
                                                                      17·   Q· · · ·Is that the fulfillment center?
· · · · · · ·000231-0233
17
                                                                      18·   A· · · ·Fulfillment center.
18                                                                    19·   Q· · · ·How long have you been out there?
19                                                                    20·   A· · · ·The fulfillment center, I've been there nine
20                                                                    21·   years.
21
                                                                      22·   Q· · · ·What do you do out there?
22
23
                                                                      23·   A· · · ·I drive a forklift in the shipping
24                                                                    24·   department.
25                                                                    25·   Q· · · ·Okay.· How long have you been driving a


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·1·   forklift out there?· Well, now, I just said that.       ·1·   Q· · · ·Did he ever hit you?
·2·   Let me rephrase that.· I thought I was awake.           ·2·   A· · · ·Yes.
·3·   · · · · Who is your supervisor?                         ·3·   Q· · · ·Tell me about that.
·4·   A· · · ·There's a discrepancy on that part.             ·4·   A· · · ·He -- he would hit me and I would hit him
·5·   Q· · · ·Okay.                                           ·5·   back.
·6·   A· · · ·One tells me it's Larry Eden, somebody tells    ·6·   Q· · · ·Where would he hit you?
·7·   me it's Michael White.· So, if you want to, put down    ·7·   A· · · ·Basically, in the arm or in the leg.
·8·   both.                                                   ·8·   Q· · · ·Would he Charley horse you?
·9·   Q· · · ·Okay.· Have you always driven a forklift out    ·9·   A· · · ·Couple of times.
10·   there?                                                  10·   Q· · · ·About how many times did he hit you?
11·   A· · · ·No, ma'am.· The first five years I ran a        11·   A· · · ·At least a half dozen total between the
12·   machine at the plant.                                   12·   plant and the warehouse.
13·   Q· · · ·At the sheet plant?                             13·   Q· · · ·Did he ever kick you?
14·   A· · · ·Yes, ma'am.                                     14·   A· · · ·No.
15·   Q· · · ·And did you do anything before that?            15·   Q· · · ·Did he ever grab you in the groin area?
16·   A· · · ·At that facility, no, ma'am.                    16·   A· · · ·No.
17·   Q· · · ·Okay.· So in total, you've worked there,        17·   Q· · · ·Did he ever hit you in the groin area?
18·   what, about 14 years?                                   18·   A· · · ·Yes.
19·   A· · · ·I've been at the WestRock for almost            19·   Q· · · ·Tell me about that.
20·   24 years.                                               20·   A· · · ·I hit him back.
21·   Q· · · ·Okay.· What did you do before you ran a         21·   Q· · · ·Okay.· What did he do when you hit him back?
22·   machine at the sheet plant?                             22·   A· · · ·He walked away.
23·   A· · · ·I worked at Nicholstone (phonetic).             23·   Q· · · ·How many times did he hit you in the groin
24·   Q· · · ·Okay.· When did this discrepancy come up as     24·   area?
25·   to who your supervisor was?                             25·   A· · · ·Roughly two to three times.
                                                     Page 7                                                        Page 9
·1·   A· · · ·This has been going back and forth since        ·1·   Q· · · ·Was that in the -- when was that?
·2·   I've been at the fulfillment center.· They tell me      ·2·   A· · · ·That was basically when I was over at the
·3·   since I'm in shipping, I go under Larry Eden, but       ·3·   plant.· He did not do it when I was at the
·4·   Michael usually runs the show over at the               ·4·   warehouse.
·5·   fulfillment center.· So I basically listen to both.     ·5·   Q· · · ·Did you see him hit any other employees?
·6·   Q· · · ·How much time does Larry Eden spend at the      ·6·   A· · · ·Yes.
·7·   fulfillment center?                                     ·7·   Q· · · ·Tell me who.
·8·   A· · · ·Hardly any.                                     ·8·   A· · · ·Terry Stafford, Michael Kulakowski,
·9·   Q· · · ·Was that the same in 2016?                      ·9·   J.R. Sanders, Jerry Harville, and a couple other
10·   A· · · ·Yes.                                            10·   ones that are not there.
11·   Q· · · ·How about 2015?                                 11·   Q· · · ·Did you only see him hit male employees?
12·   A· · · ·Same.                                           12·   A· · · ·Yes.
13·   Q· · · ·You worked at the fulfillment center when       13·   Q· · · ·Where did he hit Terry Stafford?
14·   Tommy Whited was there, right?                          14·   A· · · ·Either in the arm or a couple of times in
15·   A· · · ·Yes.                                            15·   the groins.
16·   Q· · · ·Okay.· How was that, working around him?        16·   Q· · · ·What did Mr. Stafford do?
17·   A· · · ·At times it was okay, at times it wasn't.       17·   A· · · ·Hit him back.
18·   Q· · · ·Tell me about the times that it wasn't.         18·   Q· · · ·Did he tell him not to do that again?
19·   A· · · ·When he'd come in moody.                        19·   A· · · ·To my knowledge, no.
20·   Q· · · ·What did he do when he came in moody?           20·   Q· · · ·Okay.· And Mr. Kulakowski, where did he hit
21·   A· · · ·Pretty much took it out on everybody.           21·   him?
22·   Q· · · ·How so?                                         22·   A· · · ·In the groins, the arm, back of the head.
23·   A· · · ·Didn't like this, didn't like the way we put    23·   Q· · · ·How many times did you see Mr. Whited hit
24·   stuff up, complained about every little thing there     24·   Mr. Kulakowski?
25·   was to complain about.                                  25·   A· · · ·At least a half a dozen.


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·1·   Q· · · ·Do you recall any instances when he was hit     ·1·   A· · · ·That probably went on between the sheet
·2·   in the groin where he fell to the ground and he         ·2·   plant, because J.R. used to run a machine at the
·3·   couldn't catch his breath?                              ·3·   sheet plant, and the warehouse.· Tommy liked to
·4·   A· · · ·Twice.                                          ·4·   play.
·5·   Q· · · ·Do you recall when any of these were?           ·5·   Q· · · ·What do you mean, Tommy liked to play?
·6·   A· · · ·Dates, no.                                      ·6·   A· · · ·That was his way of playing.
·7·   Q· · · ·Was it in the -- was it like a year before      ·7·   Q· · · ·Did you enjoy playing like that?
·8·   he was terminated or a few years before he was          ·8·   A· · · ·No.
·9·   terminated?                                             ·9·   Q· · · ·Did it seem like anyone enjoyed playing like
10·   A· · · ·Probably within a year, year and a half.        10·   that?
11·   Q· · · ·What did Mr. Kulakowski do?                     11·   A· · · ·I don't -- I don't know.· I can't answer
12·   A· · · ·Went to the floor and walked away after he      12·   that one.
13·   got up.                                                 13·   Q· · · ·You also mentioned Jerry Harville.· Tell me
14·   Q· · · ·Did Mr. Kulakowski ever say anything to you     14·   what Mr. Whited did to him.
15·   about the way Tommy Whited treated him?                 15·   A· · · ·I've seen him punch him in the arm and got
16·   A· · · ·Yes.                                            16·   him in the groins.· Jerry did the same thing, hit
17·   Q· · · ·Tell me about that.                             17·   him back.
18·   A· · · ·He just told me he was tired of it, and I       18·   Q· · · ·And you mentioned there were a few others.
19·   kept telling him, that was the way Tommy liked to       19·   Can you recall their names?
20·   horseplay.· He said he was sick of it.· I told him a    20·   A· · · ·Not right off the bat, no, ma'am.
21·   couple of times, hit him back.· If you hit him back     21·   Q· · · ·Okay.· They're not out there any more?
22·   a couple of times, he'll eventually stop.               22·   A· · · ·No, ma'am.
23·   Q· · · ·What did he say, Mr. Kulakowski?                23·   Q· · · ·Other than punching in the groin, did you
24·   A· · · ·He was scared that he might lose his job,       24·   see Mr. Whited grab other male employees in the
25·   that Tommy would fire him.                              25·   groin?
                                                    Page 11                                                       Page 13
·1·   Q· · · ·Did Mr. Kulakowski seem like he was scared      ·1·   A· · · ·No, ma'am.· And for the record, he did not
·2·   to you, scared of Mr. Whited?                           ·2·   punch them.· He slapped them, backhand.
·3·   A· · · ·Yes.                                            ·3·   Q· · · ·Right.· Okay.· But as I understand it, it
·4·   Q· · · ·Did Mr. Whited threaten other employees         ·4·   still hurts to be slapped backhand.
·5·   about losing their jobs, that he would fire them?       ·5·   A· · · ·Yes, yes.
·6·   A· · · ·Me, one time.                                   ·6·   Q· · · ·When that happened, when Mr. Whited would
·7·   Q· · · ·Tell me about that.                             ·7·   hit you in the groin or hit you in the arm, why
·8·   A· · · ·He got mad at Jerry Harville when Jerry was     ·8·   didn't you call HR?
·9·   over there, and sent him to the plant.· When I went     ·9·   A· · · ·Because I knew that was his way of playing.
10·   to the warehouse, he called me in the office and        10·   And I figured the only way that I would get him to
11·   told me if I screwed up, I was fired.                   11·   stop is to hit him back.
12·   Q· · · ·Had you ever heard him say anything to other    12·   Q· · · ·Were you -- well, who was HR out at the
13·   employees, threatening them with their job if they      13·   plant?
14·   complained?                                             14·   A· · · ·I'm sorry, I don't know that one.
15·   A· · · ·No, ma'am.                                      15·   Q· · · ·Okay.· Did you ever deal with Helen Kendall?
16·   Q· · · ·Or if they didn't like the way things were,     16·   A· · · ·Yes.
17·   he would fire them?                                     17·   Q· · · ·What was your understanding of her role?
18·   A· · · ·No.                                             18·   A· · · ·I didn't know what her role was.
19·   Q· · · ·Okay.· You also mentioned J.R. Sanders was      19·   Q· · · ·Okay.· And you don't know who HR is out at
20·   hit by Mr. Whited.· Tell me about that.                 20·   the fulfillment center?
21·   A· · · ·J.R. would hit him back.                        21·   A· · · ·Right now, I think it's Terri.· I think
22·   Q· · · ·Where did Mr. Whited hit him?                   22·   that's her name.· I'm not sure.
23·   A· · · ·In the groin.· In the groins, the arm.          23·   Q· · · ·Okay.· Before Mr. Whited was terminated, did
24·   Q· · · ·Was that also in the last year or so before     24·   you know?
25·   Mr. Whited was terminated?                              25·   A· · · ·No.· I didn't even know we had the HR there


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·1·   until they came in and was talking.                     ·1·   A· · · ·Yes.
·2·   Q· · · ·So, is it fair to say, to your knowledge,       ·2·   Q· · · ·Okay.· Have you had any training on sexual
·3·   that wasn't published anywhere that you knew about?     ·3·   harassment or how to report things in the workplace?
·4·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·4·   A· · · ·No, ma'am.
·5·   · · · · · · ·THE WITNESS:· No, ma'am.                   ·5·   Q· · · ·So, no one from WestRock corporate has come
·6·   BY MS. COLLINS:                                         ·6·   out to tell y'all, hey --
·7·   Q· · · ·You can still answer.                           ·7·   A· · · ·Not to my knowledge.
·8·   A· · · ·No.                                             ·8·   Q· · · ·Okay.· You've never experienced anything
·9·   Q· · · ·No, it wasn't published anywhere that you       ·9·   like that?
10·   knew about?                                             10·   A· · · ·No, ma'am.
11·   A· · · ·No, ma'am.                                      11·   Q· · · ·Have you ever received any sort of survey
12·   · · · · · · ·MS. DOHNER SMITH:· Objection.              12·   out there as to how things are going that y'all can
13·   BY MS. COLLINS:                                         13·   fill out?
14·   Q· · · ·Were you told at any point before the Whited    14·   A· · · ·Not to my knowledge.
15·   investigation that there was HR assigned to that        15·   Q· · · ·Okay.· What shift do you work?
16·   plant if employees had problems?                        16·   A· · · ·First shift.
17·   A· · · ·Before he got --                                17·   Q· · · ·That's the daytime shift, right?
18·   Q· · · ·Yeah, before all of that investigation.         18·   A· · · ·Yes, ma'am.
19·   A· · · ·Yes.· She has come in there a couple of         19·   Q· · · ·And the hours of that are?
20·   times before.· But I didn't know that that was HR       20·   A· · · ·Usually 7:00 to 3:30, but I come in at 6:00.
21·   for us to get ahold of.                                 21·   Q· · · ·Do you leave around 2:00, 2:30?
22·   Q· · · ·Okay.· Do you know why she'd come in a          22·   A· · · ·No.· I work until 3:30.
23·   couple of times before that?                            23·   Q· · · ·Do you get paid overtime?
24·   A· · · ·No, ma'am.                                      24·   A· · · ·Yes, ma'am.
25·   Q· · · ·Okay.· When she had come in before, had you     25·   Q· · · ·Do you get paid for all of the hours you
                                                    Page 15                                                       Page 17
·1·   had any occasion to meet with her?                      ·1·   work?
·2·   A· · · ·No, ma'am.                                      ·2·   A· · · ·Yes, ma'am.
·3·   Q· · · ·Okay.· And you said you had seen her out at     ·3·   Q· · · ·Have you ever been called in on the weekends
·4·   the fulfillment center a couple of times before.· Do    ·4·   or at nights to do something and not been paid for
·5·   you know about how many times you'd seen her out        ·5·   it?
·6·   there?                                                  ·6·   A· · · ·No, ma'am.
·7·   A· · · ·Just a couple, when they would bring up         ·7·   Q· · · ·Do you know what you're supposed to do if
·8·   about the insurance with Helen.                         ·8·   you experience any sort of harassment in the
·9·   Q· · · ·Okay.· Like when y'all had to re-sign-up for    ·9·   workplace?
10·   insurance --                                            10·   A· · · ·I do now.
11·   A· · · ·Yes.                                            11·   Q· · · ·Okay.· Well, let's backtrack a little bit.
12·   Q· · · ·-- at the end of the year?                      12·   Before all this stuff happened with Mr. Whited, did
13·   A· · · ·Yes.                                            13·   you know what to do?
14·   Q· · · ·Okay.· Have you been provided a copy of the     14·   A· · · ·I pretty much did.· But like before, I knew
15·   company handbook?                                       15·   he was horseplaying, and I wanted to let him know
16·   A· · · ·Yes, ma'am.                                     16·   that I wasn't going to put up with it.
17·   Q· · · ·Do you get one on a yearly basis or every       17·   Q· · · ·Okay.
18·   couple of years or how does that work?                  18·   A· · · ·And I think Terry and J.R. pretty much were
19·   A· · · ·If I'm not mistaken, I think one comes out      19·   the same way.
20·   every year.· We go to sign up for the insurance. I      20·   Q· · · ·What do you mean, you think you knew what to
21·   know we get a big envelope, and it has to do with       21·   do?· Just telling him to stop and hitting him back?
22·   the insurance, but I think usually the handbook         22·   A· · · ·Basically, hitting him back, and I figured
23·   comes in that, too.                                     23·   he would back off.· If he continued on, yeah, I
24·   Q· · · ·Okay.· And y'all just have to sign saying       24·   would have reported him.
25·   that you received it?                                   25·   Q· · · ·Do you know who you would have or should


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·1·   have reported it to?                                    ·1·   A· · · ·I think I've heard Kuli tell him one time.
·2·   A· · · ·I would have called corporate.                  ·2·   But I wasn't around him each and every time.
·3·   Q· · · ·Did you know how to find that number?           ·3·   Q· · · ·Right.· Did you ever hear Mr. Kulakowski
·4·   A· · · ·Yes.                                            ·4·   tell Mr. Eden about, you know, he wishes Mr. Whited
·5·   Q· · · ·Okay.· Where would you have gone to find        ·5·   would quit?
·6·   that number?                                            ·6·   A· · · ·Once.
·7·   A· · · ·I think it's in the employee handbook, but I    ·7·   Q· · · ·You heard him tell Mr. Eden that he wished
·8·   would have found it one way or another.                 ·8·   Mr. Whited would not hit him?
·9·   Q· · · ·Were you scared of Mr. Whited?                  ·9·   A· · · ·One time.
10·   A· · · ·No.                                             10·   Q· · · ·What do you recall Mr. Eden saying?
11·   Q· · · ·Were you worried about him terminating your     11·   A· · · ·I don't know.· It was on the phone.
12·   employment?                                             12·   Q· · · ·Okay.· How did Mr. Kulakowski seem after he
13·   A· · · ·At one time, yes.                               13·   got off the phone?
14·   Q· · · ·Was it because you hit him back, or what was    14·   A· · · ·He knew that Larry was not going to do
15·   the reason for that?                                    15·   anything about it.
16·   A· · · ·When he called me into the office and told      16·   Q· · · ·Did it seem like Larry was scared of or
17·   me if I screwed up that I'd be fired.                   17·   intimidated by Mr. Whited?
18·   Q· · · ·What brought that about?                        18·   A· · · ·Yes.
19·   A· · · ·He was mad at Jerry Harville.                   19·   Q· · · ·I may have already asked you this, but had
20·   Q· · · ·Okay.· Had you heard him yell and cuss at       20·   you ever seen Mr. Whited grab a female employee in
21·   other employees?                                        21·   their groin area or hit them in their groin area?
22·   A· · · ·Yes.                                            22·   A· · · ·No.
23·   Q· · · ·As I understand it, you know, cussing is --     23·   Q· · · ·Did Mr. Whited ever make threats around you
24·   happens in the workplace out there, right?              24·   that if someone made a hotline complaint that those
25·   A· · · ·Yes.                                            25·   would come to him?
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·1·   Q· · · ·But the way Mr. Whited talked to his            ·1·   A· · · ·No.
·2·   subordinate employees, was it -- did it cross a line    ·2·   Q· · · ·Do you think the WestRock reporting system
·3·   with you?                                               ·3·   was effective with the way that --
·4·   A· · · ·With me?                                        ·4·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·5·   Q· · · ·Yes.                                            ·5·   BY MS. COLLINS:
·6·   A· · · ·No.                                             ·6·   Q· · · ·-- Tommy Whited treated employees?
·7·   Q· · · ·Did it seem like it crossed a line with some    ·7·   A· · · ·Can you reword that?
·8·   other people?                                           ·8·   Q· · · ·Sure.· Do you think the procedures that were
·9·   A· · · ·I can only answer in my words.· That, I         ·9·   in place to report a general manager like Tommy
10·   can't answer that one because, I mean, with me, I       10·   Whited who hit employees, do you think the procedure
11·   was letting it go for so far.· For them, I don't        11·   that was in place for employees to report those
12·   know.                                                   12·   behaviors was effective?
13·   Q· · · ·Okay.                                           13·   · · · · · · ·MS. DOHNER SMITH:· Objection.
14·   A· · · ·So, I mean, I don't -- you know, if he          14·   · · · · · · ·THE WITNESS:· I can't answer that. I
15·   crossed the line with me, I would tell him before       15·   don't know.· Sorry.· I just --
16·   anything would happen.· With them, I can't say what     16·   BY MS. COLLINS:
17·   they would -- what they were thinking at the time.      17·   Q· · · ·Yeah.· Is that because you just --
18·   Q· · · ·Do you think it was appropriate for -- and      18·   A· · · ·I've never dealt with it, so I don't know.
19·   Mr. Whited was the general manager, right?              19·   Q· · · ·Okay.· Are you worried about testifying here
20·   A· · · ·Yes.                                            20·   today?
21·   Q· · · ·Do you think it was appropriate for him to      21·   A· · · ·Nervous.
22·   hit male employees in the groin like he did?            22·   Q· · · ·What are you nervous about?
23·   A· · · ·No.                                             23·   A· · · ·In a law firm.
24·   Q· · · ·Did you ever witness Mr. Kulakowski tell him    24·   Q· · · ·I understand.
25·   to stop or not to do that?                              25·   A· · · ·Has to do with the law.· When it has to do


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·1·   with the law, I don't know, anytime I'm around it,      ·1·   tell me about who contacted you and what happened.
·2·   it just makes me nervous.                               ·2·   A· · · ·I didn't even know that it had come out
·3·   Q· · · ·Are you worried about your job security?        ·3·   until they started calling me up to the office, HR.
·4·   A· · · ·No, ma'am.                                      ·4·   Q· · · ·Okay.· Who called you to the office?
·5·   Q· · · ·Have you bought any cars or appliances from     ·5·   A· · · ·I think it was Terri, there was another
·6·   Mr. Whited?                                             ·6·   woman in there, and I think Tom Pedine.
·7·   A· · · ·No, ma'am.                                      ·7·   Q· · · ·Okay.· How many meetings did you have with
·8·   Q· · · ·Did you know that WestRock had a 1-800          ·8·   HR, anyone in corporate about Mr. Whited's behavior?
·9·   number for reporting sexual harassment?                 ·9·   A· · · ·One.
10·   A· · · ·Not at first I didn't.                          10·   Q· · · ·One meeting.· Did you have any phone calls
11·   Q· · · ·Did you find out after all this happened?       11·   with them that you can recall?
12·   A· · · ·I found out, I think, before this happened.     12·   A· · · ·Not that I can recall.
13·   Not long before this happened.· I can't really say      13·   Q· · · ·Okay.· And what did -- do you recall what
14·   when, but I know it was before this happened.           14·   happened in the meeting with them?
15·   Q· · · ·How did you find out about it?                  15·   A· · · ·No, ma'am, I don't.
16·   A· · · ·I think it was a couple employees was going     16·   Q· · · ·Okay.
17·   around in there saying something about it.· I'm         17·   A· · · ·I don't.· I'm sorry.· I've got so much going
18·   not -- I don't quite remember.                          18·   through my head all the time, I don't remember
19·   Q· · · ·Okay.· And you're just not sure when that       19·   everything.
20·   was?                                                    20·   Q· · · ·I have the same problem.
21·   A· · · ·Yeah.                                           21·   · · · · Okay.· Let's turn to -- if you could turn to
22·   Q· · · ·Or the context?                                 22·   Exhibit Number 18.
23·   A· · · ·(Witness moves head up and down.)               23·   · · · · · · ·(Presented Exhibit No. 18.)
24·   · · · · I'm sorry.· Yes.                                24·   · · · · · · ·THE WITNESS:· Now, remember, I don't
25·   Q· · · ·Did a lot of the employees out there at the     25·   have my glasses, so I can't see everything clearly.
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·1·   fulfillment center talk about the way Tommy Whited      ·1·   BY MS. COLLINS:
·2·   treated people?                                         ·2·   Q· · · ·I should have warned you.
·3·   A· · · ·No.                                             ·3·   A· · · ·I'll tell you what I can see.
·4·   Q· · · ·Did you ever have -- did Tommy Whited ever      ·4·   Q· · · ·If you could read this top section where it
·5·   show his private parts or his penis to you?             ·5·   says Donnie Taylor, and then let me know when you've
·6·   A· · · ·No.                                             ·6·   finished reading it, if you can see it okay.
·7·   Q· · · ·Did you ever hear about him doing that to       ·7·   A· · · ·I'm sorry.
·8·   other employees?                                        ·8·   Q· · · ·Do you want me to see if I have some reading
·9·   A· · · ·No.                                             ·9·   glasses?· I do.· I can't promise they'll be the
10·   Q· · · ·Okay.· Did you ever hear him telling any        10·   right strength.· One time I had a witness borrow the
11·   other employees that they needed to suck his dick --    11·   court reporter's glasses and they were red tortoise
12·   A· · · ·No.                                             12·   shell.
13·   Q· · · ·-- or anything like that?                       13·   · · · · (Tendering.)· Does that help?
14·   A· · · ·No.                                             14·   A· · · ·Donnie Taylor, 8.8.1994, August 22, 2016,
15·   Q· · · ·I apologize.                                    15·   6:58 p.m.
16·   A· · · ·That's okay.                                    16·   Q· · · ·You can just read it to yourself, and I'm
17·   Q· · · ·And you never heard about him saying            17·   just going to ask you a couple of questions.· Let me
18·   anything like that to other employees?                  18·   know when you're done reading it to yourself.
19·   A· · · ·No.                                             19·   A· · · ·(Reviewing document.)· Okay.
20·   Q· · · ·Okay.· I'm going to go through a couple of      20·   Q· · · ·And I'm going to represent to you, these are
21·   exhibits.· If you could, in this giant book right       21·   notes taken by Terri Henley of a phone conversation
22·   here -- well, first let me just ask you a few things    22·   she said she had with you.
23·   before we get to all of the paper.                      23·   A· · · ·Okay.
24·   · · · · When the things came out about Mr. Whited       24·   Q· · · ·Do you remember having a brief phone
25·   and there was an investigation that was started,        25·   conversation with her on or around August 22nd?


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·1·   A· · · ·Okay.                                           ·1·   A· · · ·Yes.
·2·   Q· · · ·Do you recall that?                             ·2·   Q· · · ·Okay.· And you told Ms. Henley when she came
·3·   A· · · ·No, I don't recall it, but it could have        ·3·   out -- where did y'all meet?
·4·   happened.· Like I said, I've got so much on my mind,    ·4·   A· · · ·At the conference room.
·5·   some things I do recall and some things I don't.        ·5·   Q· · · ·At the?
·6·   Q· · · ·Okay.· Is the information that's recorded       ·6·   A· · · ·Fulfillment.
·7·   here accurate?                                          ·7·   Q· · · ·Fulfillment.· And was this the meeting with
·8·   A· · · ·Kicking in the groin area, yes.· That Tommy     ·8·   the three of you, Ms. Henley, and Mr. Pedine?
·9·   and Susan affair, yes.· And the last part of it,        ·9·   A· · · ·No.· This was just me and her at that time.
10·   yes.                                                    10·   Q· · · ·Okay.· Was she taking notes during that
11·   Q· · · ·The last part, meaning if you met with her      11·   meeting or typing on a laptop?
12·   at the fulfillment center --                            12·   A· · · ·I think she was typing on a laptop.
13·   · · · · · · ·(Overlapping speech.)                      13·   Q· · · ·Okay.· And you had told her about these
14·   A· · · ·If she come to the fulfillment center.          14·   physical contact things with respect to Michael
15·   Because I told her I didn't want to really say too      15·   Kulakowski, right?
16·   much on the phone.                                      16·   A· · · ·Yes.
17·   Q· · · ·Okay.· But you were worried if she came out     17·   Q· · · ·The slapping and the kicking.· And she wrote
18·   to the fulfillment center, Tommy would know             18·   down that Tommy Whited was grinning when he was
19·   something was up and it wouldn't be good for you?       19·   doing those things.
20·   A· · · ·Yes.· Because of Susan.· Because she pretty     20·   A· · · ·Yes.
21·   much was telling Tommy everything that's going on.      21·   Q· · · ·At any point in time when you were -- since
22·   Q· · · ·Okay.· All right.· But all of these other       22·   you've worked at WestRock, before Mr. Whited was
23·   things -- and we've talked about some of them that      23·   terminated, did anyone tell you that male on male
24·   you had witnessed, the inappropriate behavior of        24·   horseplay can be sexual harassment in the workplace?
25·   Tommy kicking -- I'll tell you witness number 4 is      25·   · · · · · · ·MS. DOHNER SMITH:· Objection.
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·1·   Michael Kulakowski --                                   ·1·   · · · · · · ·THE WITNESS:· I knew it was.
·2·   A· · · ·Right.                                          ·2·   BY MS. COLLINS:
·3·   Q· · · ·-- in the groin.                                ·3·   Q· · · ·You knew that horseplay could be sexual
·4·   A· · · ·Right.                                          ·4·   harassment?
·5·   Q· · · ·Smacking him in the back of the head.           ·5·   A· · · ·Uh-huh.· I know both could be terminated.
·6·   A· · · ·Right.                                          ·6·   Q· · · ·How did you know that?
·7·   Q· · · ·Punching him in the arm and shoulder area.      ·7·   A· · · ·Different places that I've worked was the
·8·   A· · · ·Yes.                                            ·8·   same way.
·9·   Q· · · ·And that you had witnessed Mr. Whited           ·9·   Q· · · ·When you were at WestRock, did you ever
10·   kicking Mr. Kulakowski in the groin area on more        10·   receive any training about sexual harassment or --
11·   than one occasion.                                      11·   A· · · ·No.
12·   A· · · ·Yes.                                            12·   Q· · · ·-- who to report things to if you felt you
13·   Q· · · ·Now, if you could turn to Exhibit Number 21     13·   were being harassed?
14·   for me, please.                                         14·   A· · · ·Not when I started, no.· Like I said, I
15·   · · · · · · ·(Presented Exhibit No. 21.)                15·   didn't know until in the past few years.
16·   BY MS. COLLINS:                                         16·   Q· · · ·Was that after all this came out with
17·   Q· · · ·If you could turn to the second page of that    17·   Mr. Whited?
18·   exhibit, where it says Donnie Taylor.                   18·   A· · · ·Just before.· Just before they were starting
19·   A· · · ·Okay.                                           19·   to bring it up.
20·   Q· · · ·Just review that section.· I think it goes      20·   Q· · · ·Who was starting to bring it up?
21·   into the next page a little bit.· And let me know       21·   A· · · ·The main office, HR.· The few times that she
22·   when you're finished.                                   22·   was out there for the insurance, I think it came
23·   A· · · ·(Reviewing document.)· Okay.                    23·   across a few times.· I'm not exactly sure when, but
24·   Q· · · ·Does the information that was recorded here,    24·   I know it was brought up a few times before he got
25·   does that look accurate?                                25·   terminated.


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·1·   Q· · · ·Okay.· Did you have to sign anything saying     ·1·   Q· · · ·Okay.· Would you say that the way that he
·2·   that you've had this training or anything like that?    ·2·   treated Michael Kulakowski was a lot worse?
·3·   A· · · ·I don't -- I don't recall.· I probably did,     ·3·   A· · · ·In some ways yes, in some ways no.
·4·   but I don't recall whether I did or not.                ·4·   Q· · · ·Okay.· What ways yes?
·5·   Q· · · ·Okay.                                           ·5·   A· · · ·Got a little too carried away.
·6·   A· · · ·It wasn't really training.· It was just         ·6·   Q· · · ·With the hitting and the kicking?
·7·   brought up.· I don't know if you would call that        ·7·   A· · · ·Yes.
·8·   training.                                               ·8·   Q· · · ·Okay.· In what ways no?
·9·   Q· · · ·What do you mean, brought up?                   ·9·   A· · · ·I think he kind of was protecting Kuli.· He
10·   A· · · ·It was just brought up in a conversation        10·   liked Kuli.· I think he just wanted to kind of scare
11·   about people telling, you know, if this is done or      11·   Kuli a little bit.
12·   this is done, it's considered as sexual harassment      12·   Q· · · ·Okay.· Did Michael Kulakowski seem scared of
13·   or horseplay, and you could both be fired for           13·   him?
14·   horseplay.· You know, if one is going, the other one    14·   A· · · ·Yes.
15·   has got to go.· But I think, you know, some people      15·   Q· · · ·Now, you also mentioned in this -- in
16·   thought they were expendable.· And I don't never        16·   Ms. Henley's notes that Kuli is not one to lie.· Is
17·   think I'm expendable.                                   17·   that how you feel about Mr. Kulakowski?
18·   · · · · Who brought it up, it was just -- I can't       18·   A· · · ·Since I've worked with him, that's how I
19·   recall who, but it was in conversations with several    19·   feel.
20·   different people.                                       20·   Q· · · ·Okay.· And she also noted that you've never
21·   Q· · · ·Okay.· So you don't think it was like a         21·   heard Mr. Whited apologize.· Is that true?
22·   formal conversation or training --                      22·   A· · · ·That's true.
23·   A· · · ·No.                                             23·   Q· · · ·And that you can't tell whether he's joking
24·   Q· · · ·-- from HR or corporate?                        24·   and sometimes he's serious.
25·   A· · · ·No.                                             25·   A· · · ·Right.
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·1·   Q· · · ·No?                                             ·1·   Q· · · ·She put a note on here, it says, "Consider
·2·   A· · · ·No.· That I can recall, no.                     ·2·   that interaction - relationship playing
·3·   Q· · · ·Okay.                                           ·3·   interaction - not a friendly exchange.· It is a
·4·   A· · · ·Now, HR might have brought it up, but           ·4·   defense so Tommy Whited doesn't mess with him."
·5·   there's been a lot on my mind going on on that part.    ·5·   A· · · ·I --
·6·   So, I mean, I don't remember all of the meetings and    ·6·   Q· · · ·You don't know what that means?
·7·   everything that goes on in there.                       ·7·   A· · · ·No, huh-uh.
·8·   Q· · · ·Were you worried because you had hit Tommy      ·8·   Q· · · ·Okay.· And she also noted that you said it's
·9·   Whited back to defend yourself that you could get in    ·9·   gone on for a long time.· It's gotten worse in the
10·   trouble?                                                10·   past four to five years.
11·   A· · · ·At first, I thought I was.· But when I found    11·   A· · · ·Yes.
12·   out that -- you know, if there's a fight that takes     12·   Q· · · ·Did Mr. Whited seem more aggressive in the
13·   place, it don't matter who hit, you're both fired.      13·   past --
14·   So, if he hits me and I hit him back and he goes and    14·   A· · · ·Yes.
15·   reports it, he should go just as well as I should       15·   Q· · · ·-- several years?
16·   go.                                                     16·   A· · · ·Yes.
17·   Q· · · ·Okay.· So, you had an understanding that if     17·   Q· · · ·And you also told her that a lot of people
18·   you hit him back, that you could get in trouble for     18·   were scared of him and he's intimidating.
19·   it, too?                                                19·   A· · · ·Yes.
20·   A· · · ·Yes.                                            20·   Q· · · ·And she wrote down that he's using Kuli as a
21·   Q· · · ·And did that dissuade you from going to         21·   play toy, that you said that.
22·   corporate and complaining about Mr. Whited?             22·   A· · · ·Yes.
23·   A· · · ·No.· No, he didn't pick on me like he did       23·   Q· · · ·What did you mean by that?
24·   Kuli.· There were several of us that he didn't pick     24·   A· · · ·Because Kuli wouldn't hit him back, so he
25·   on like he did Kuli.                                    25·   just kept going after him.


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·1·   Q· · · ·She also wrote down that you stated he          ·1·   can.
·2·   messed with a lot of people, but further on down the    ·2·   · · · · · · ·(Recess observed.)
·3·   line.· He is serious and it isn't horseplay any         ·3·   BY MS. COLLINS:
·4·   more.                                                   ·4·   Q· · · ·All right.· Were you around when Mr. Whited
·5·   · · · · Do you know -- do you recall what that's        ·5·   was terminated?
·6·   about?                                                  ·6·   A· · · ·Yes.
·7·   A· · · ·No.                                             ·7·   Q· · · ·Do you recall security being brought out to
·8·   Q· · · ·Did it seem like he picked on newer             ·8·   the plant?
·9·   employees or employees that hadn't been there as        ·9·   A· · · ·Yes.
10·   long or weren't supervisors more?                       10·   Q· · · ·Do you know why that was or did you hear why
11·   A· · · ·He didn't pick on the new employees.· Some      11·   that was?
12·   of the ones that have been there a while, I think he    12·   A· · · ·I just figured they'd put security out there
13·   got probably a little bit more agitated.· Why, I        13·   to make sure he didn't come back and do anything.
14·   don't know.· But as in the hitting part and stuff       14·   Q· · · ·Did anybody voice any concerns to you or
15·   like that, it basically came down to Kuli.              15·   that you knew about that they were worried he was
16·   Q· · · ·She also noted that you felt like he showed     16·   going to do something?
17·   favoritism to Larry Eden.· What was that about?         17·   A· · · ·No, ma'am.
18·   A· · · ·Putting somebody in a position that don't       18·   Q· · · ·Do you know who made the initial complaint
19·   belong in the position.· That's my point of view.       19·   against him in August of 2016?
20·   Q· · · ·Do you think Larry Eden was like a yes-man      20·   A· · · ·No, ma'am.
21·   to him?                                                 21·   Q· · · ·Has it been better out there since he's
22·   A· · · ·Uh-huh.· Yes.                                   22·   gone?
23·   Q· · · ·And that's why he put him in that position?     23·   A· · · ·So so.
24·   A· · · ·Yes.                                            24·   Q· · · ·Sounds like a lot of changes in the past
25·   · · · · · · ·MS. DOHNER SMITH:· Objection.              25·   year.
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·1·   BY MS. COLLINS:                                         ·1·   A· · · ·Yes, ma'am.
·2·   Q· · · ·Was it your impression Larry Eden didn't        ·2·   Q· · · ·Did you ever see him hit Michael Kulakowski
·3·   stand up to him?                                        ·3·   with a broomstick?
·4·   A· · · ·Yes.                                            ·4·   A· · · ·I seen him throw it at him.
·5·   Q· · · ·Was it your impression Larry Eden was afraid    ·5·   Q· · · ·Okay.· You don't recall him hitting him with
·6·   to stand up to him?                                     ·6·   one?
·7·   A· · · ·Yes.                                            ·7·   A· · · ·No, ma'am.
·8·   Q· · · ·Do you still feel that way about Larry Eden?    ·8·   Q· · · ·Are there cameras out there at the
·9·   A· · · ·Yes.                                            ·9·   fulfillment center --
10·   Q· · · ·Before Mr. Whited's termination, do you         10·   A· · · ·Yes, ma'am.
11·   recall receiving any sort of formal or informal         11·   Q· · · ·-- in the workplace?
12·   sexual harassment training from corporate?              12·   A· · · ·Yes.
13·   · · · · · · ·MS. DOHNER SMITH:· Objection.              13·   Q· · · ·Did they record all the time or do you know
14·   BY MS. COLLINS:                                         14·   anything about that?
15·   Q· · · ·From WestRock corporate.                        15·   A· · · ·I have -- I don't know.
16·   A· · · ·I don't recall.                                 16·   Q· · · ·And I think you told me a moment ago you've
17·   Q· · · ·Do you recall an incident where Mr. Whited      17·   never called the company hotline, right?
18·   came up to Michael Kulakowski and grabbed him while     18·   A· · · ·Right.
19·   he was standing by a desk, and he ended up on the       19·   Q· · · ·Did you know the company had a hotline
20·   ground, getting shoved off, over the desk and ended     20·   before all this Whited stuff came about?
21·   up on the ground?                                       21·   A· · · ·I kind of figured they did, but I didn't pay
22·   A· · · ·I don't recall.                                 22·   no attention to it.
23·   · · · · · · ·MS. COLLINS:· Okay.· If I could just       23·   Q· · · ·Okay.· By figured they did --
24·   have a minute, I think that I am finished with you.     24·   A· · · ·I knew that they would have a hotline, but I
25·   If you want to take a break, go to the restroom, you    25·   just didn't bother calling it.


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·1·   Q· · · ·And you didn't know the specifics as to how     ·1·   the main office or HR had also talked about the
·2·   it was handled?                                         ·2·   corporate hotline and how to report things?
·3·   A· · · ·Yes, ma'am.                                     ·3·   A· · · ·Yes.
·4·   Q· · · ·Would you trust doing that, if you had to       ·4·   Q· · · ·You testified that you thought Larry Eden
·5·   make a complaint against the general manager?           ·5·   was a yes-man and wouldn't stand up to Tommy Whited.
·6·   A· · · ·Yes.                                            ·6·   Did Michael Kulakowski have the same opinion of
·7·   Q· · · ·Do you recall an incident where Mr. Whited      ·7·   Larry?
·8·   came up behind Mr. Kulakowski and squeezed him in       ·8·   A· · · ·Yes.
·9·   the groin so hard that he couldn't breathe?             ·9·   · · · · · · ·MS. COLLINS:· Objection to form.
10·   A· · · ·I didn't see it, but Kuli did tell me about     10·   BY MS. DOHNER SMITH:
11·   it.                                                     11·   Q· · · ·Did he express to you that he had that same
12·   Q· · · ·Okay.· And you believed him?                    12·   opinion of Larry?
13·   A· · · ·Yes.                                            13·   A· · · ·Yes.
14·   · · · · · · ·MS. COLLINS:· Okay.· That's all I have.    14·   Q· · · ·And he knew Larry wasn't going to do
15·   · · · · · · ·MS. DOHNER SMITH:· Just a couple of        15·   anything to stop Tommy?
16·   questions.                                              16·   A· · · ·Correct.
17·   · · · · · · · · E X A M I N A T I O N                   17·   Q· · · ·I'm just going to have you look at what has
18·   BY MS. DOHNER SMITH:                                    18·   previously been marked as Exhibit 4.
19·   Q· · · ·I think earlier you testified that when         19·   · · · · · · ·(Presented Exhibit No. 4.)
20·   Michael Kulakowski said he was tired of the way         20·   BY MS. DOHNER SMITH:
21·   Tommy was treating him, you told him if he hit him      21·   Q· · · ·I think earlier you said that you received
22·   back, he would stop.                                    22·   your own copy of the handbook.
23·   A· · · ·Yes.                                            23·   A· · · ·Yes.· I do know I have one at home.
24·   Q· · · ·But he was -- Mr. Kulakowski was afraid that    24·   Q· · · ·Okay.
25·   Tommy would fire him if he hit him back?                25·   A· · · ·It's a newer one.
                                                    Page 39                                                       Page 41
·1·   A· · · ·Yes.                                            ·1·   Q· · · ·The harassment policy is in the handbook,
·2·   Q· · · ·You hit Mr. Whited back and you weren't         ·2·   correct?
·3·   terminated by Tommy, correct?                           ·3·   A· · · ·I think so.· I haven't really looked at it,
·4·   A· · · ·Correct.                                        ·4·   but yes, ma'am.
·5·   Q· · · ·J.R. Sanders hit Tommy back and wasn't          ·5·   Q· · · ·If you look at Page 11 of this --
·6·   terminated by Tommy, correct?                           ·6·   · · · · · · ·THE WITNESS:· Can I borrow your
·7·   A· · · ·Correct.                                        ·7·   glasses, please?
·8·   Q· · · ·Jerry Harville hit Tommy back and wasn't        ·8·   · · · · · · ·MS. COLLINS:· Absolutely.
·9·   terminated by Tommy, correct?                           ·9·   · · · · · · ·THE WITNESS:· I promise I won't walk
10·   A· · · ·Correct.                                        10·   out with them.
11·   Q· · · ·You indicated that you thought Tommy tried      11·   · · · · · · ·MS. COLLINS:· It's okay.
12·   to protect Kuli at times.· Were there times that he     12·   BY MS. DOHNER SMITH:
13·   could have terminated Mr. Kulakowski but he didn't      13·   Q· · · ·Looking at that document, does that appear
14·   do so?                                                  14·   to be WestRock's sex harassment policy?
15·   A· · · ·Yes.                                            15·   A· · · ·(Reviewing document.)
16·   · · · · · · ·MS. COLLINS:· Objection to form.           16·   · · · · I can't say yes and I can't say no, because
17·   BY MS. DOHNER SMITH:                                    17·   I haven't really read it.
18·   Q· · · ·I just want to make sure the record is          18·   Q· · · ·Okay.· This policy here, though, it actually
19·   clear, because I think you testified that there were    19·   has a 1-800 number listed there to call, correct?
20·   a couple of times before Tommy Whited was terminated    20·   A· · · ·Yes, ma'am.
21·   that corporate HR came, or someone from corporate       21·   Q· · · ·Any reason to think that this isn't the
22·   came and talked about harassment and reporting          22·   company's handbook?
23·   harassment.                                             23·   A· · · ·No.
24·   A· · · ·Correct.                                        24·   Q· · · ·Okay.· And Page 7 of the handbook, that
25·   Q· · · ·And before Tommy was let go, someone from       25·   actually has the compliance hotline as well,


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KULAKOWSKI vs WESTROCK SERVICES
                                                        Page 42                                                          Page 44
·1·   correct?                                                    ·1· · · · · · · · · · · ·E R R A T A
                                                                  ·2
·2·   A· · · ·Yes, ma'am.
                                                                  ·3· · · ·I, DONALD CHARLES TAYLOR, having read the
·3·   Q· · · ·Okay.· So if you wanted to make a report of
                                                                  · · foregoing deposition, Pages 1 through 42, taken
·4·   sex harassment, would you have gone to your handbook
                                                                  ·4· November 16, 2017, do hereby certify said
·5·   and looked for the number to call?                          · · testimony is a true and accurate transcript,
·6·   A· · · ·Yes.                                                ·5· with the following changes, if any:
·7·   · · · · · · ·MS. DOHNER SMITH:· Okay.· I don't have         ·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·8·   anything else.                                              ·7· _____· ·_____· · ·______________________________
·9·   · · · · · · ·FURTHER DEPONENT SAITH NOT.                    ·8· _____· ·_____· · ·______________________________

10·   · · · · · · ·(Proceedings concluded at 11:10 a.m.)          ·9· _____· ·_____· · ·______________________________
                                                                  10· _____· ·_____· · ·______________________________
11
                                                                  11· _____· ·_____· · ·______________________________
12
                                                                  12· _____· ·_____· · ·______________________________
13                                                                13· _____· ·_____· · ·______________________________
14                                                                14· _____· ·_____· · ·______________________________
15                                                                15· _____· ·_____· · ·______________________________
16                                                                16· _____· ·_____· · ·______________________________
17                                                                17
18                                                                18· · · · · · ·______________________________
                                                                  19· · · · · · · · ·DONALD CHARLES TAYLOR
19
                                                                  20
20
                                                                  21
21                                                                22· ____________________________
22                                                                · · · · · Notary Public
23                                                                23· My commission expires:· _____________
24                                                                24
25                                                                25

                                                        Page 43
·1· · · · · · · · ·REPORTER'S CERTIFICATE
·2
·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
·4· Public and Court Reporter, do hereby certify that I
·5· recorded to the best of my skill and ability by
·6· machine shorthand all the proceedings in the
·7· foregoing transcript, and that said transcript is a
·8· true, accurate, and complete transcript to the best
·9· of my ability.
10· · · · · · · ·I further certify that I am not an
11· attorney or counsel of any of the parties, nor a
12· relative or employee of any attorney or counsel
13· connected with the action, nor financially
14· interested in the action.
15· · · · · · · ·SIGNED this 28th day of November, 2017.
16
17
18
19
20· · · · · · · ·____________________________________
21· · · · · · · · · · Jerri L. Porter, RPR, CRR
22· My Notary commission expires:· 2/19/2018
23· Tennessee LCR No. 335
· · Expires:· 6/30/2018
24
25



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